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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF PUERTO RICO


      In re:                                                      PROMESA
                                                                  Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,                           No. 17 BK 3283-LTS

                        as representative of                      (Jointly Administered)

      THE COMMONWEALTH OF PUERTO RICO, et al.,

                             Debtors.1

      In re:                                                      PROMESA
                                                                  Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,                           No. 17 BK 4780-LTS

                        as representative of                      Re: ECF Nos. 24847, 24849

      THE COMMONWEALTH OF PUERTO RICO, et al.,                    This filing relates only to PREPA

      Debtors.

               URGENT UNOPPOSED MOTION FOR EXTENSION OF DEADLINES




  1
       The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
       and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
       the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK-3283- LTS) (Last Four
       Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”)
       (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii)
       Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-
       3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of
       the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-
       3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power
       Authority (“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of Federal
       Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No.
       19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed
       as Bankruptcy Case numbers due to software limitations).
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  To the Honorable United States District Court Judge Laura Taylor Swain:

         The Puerto Rico Electric Power Authority (“PREPA”) respectfully submits this urgent

  unopposed motion (the “Urgent Motion”) for entry of an order, substantially in the form attached

  hereto as Exhibit A (the “Proposed Order”), extending the deadlines set forth in the Order

  Scheduling Briefing of Power Constructors, Inc.’s Motion for Allowance and Payment of

  Administrative Expense Claims in the Total Sum of $224,828.12 [ECF No. 24849] (the

  “Scheduling Order”).

                                         Request for Relief

         1.      On August 4, 2023, Power Constructors, Inc. (“Movant”) filed Power

  Constructors, Inc.’s Motion for Allowance and Payment of Administrative Expense Claims in the

  Total Sum of $224,828.12 [ECF No. 24847] (the “Motion”). The Motion alleges that Movant

  “enter[ed] into a professional services contract with [Movant] to conduct an analytical study to

  help Puerto Rico obtain the most efficient, sustainable, and resilient power generation mix,” and

  “[a]fter rendering the services as contractually obligated, Movant proceeded to submit five (5)

  invoices totaling $224,828.12, which have not been paid by PREPA.” Mot. at 2. Accordingly,

  the Motion requests this Court “allow [Movant’s] claim in the aggregate amount of $224,828.12

  as an administrative expense claim and order[] to immediately pay the same . . . .” See Mot. at 3.

         2.      On August 7, 2023, the Court entered the Scheduling Order, which provides that

  responses to the Motion must be filed by August 21, 2023 at 5:00 PM (AST), and Movant’s reply

  by August 28, 2023 at 5:00 PM (AST).

         3.      Since the filing of the Motion, PREPA has begun researching the allegations set

  forth in the Motion and gathering the relevant information, including information requested from

  counsel for Movant, necessary to evaluate the allegations and relief requested in the Motion and
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  to determine whether a consensual resolution is possible.           Accordingly, PREPA, with no

  opposition from Movant, proposes the following extensions of the deadlines set forth in the

  Scheduling Order:

             The deadline to respond to the Motion shall be extended to September 11, 2023.

             The deadline for Movant to file a reply to a response, if any, shall be extended to

              September 18, 2023.

             The Court will thereafter take the Motion on submission, unless the Court determines

              that a hearing is necessary.

         4.      Pursuant to Paragraph I.H of the Seventeenth Amended Notice, Case Management

  and Administrative Procedures [ECF No. 24726-1] (the “Case Management Procedures”), PREPA

  hereby certifies that it has carefully examined the matter and concluded that there is a true need

  for an urgent motion; it has not created the urgency through any lack of due diligence; has made a

  bona fide effort to resolve the matter without a hearing; has made reasonable, good-faith

  communications in an effort to resolve or narrow the issues that are being brought to the Court,

  and Movant does not oppose the request in this urgent motion.

                                                 Notice

         5.      PREPA has provided notice of this motion in accordance with the Case

  Management Procedures to the following parties: (a) the Office of the United States Trustee for

  the District of Puerto Rico; (b) the indenture trustees and/or agents, as applicable, for the Debtors’

  bonds; (c) the entities on the list of creditors holding the 20 largest unsecured claims against

  COFINA; (d) counsel to the statutory committees appointed in these Title III cases; (e) the Office

  of the United States Attorney for the District of Puerto Rico; (f) counsel to the Oversight Board;

  (g) the Puerto Rico Department of Justice; (h) all parties filing a notice of appearance in these Title
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  III cases; and (i) Movant. A copy of the motion is also available on PREPA’s case website at:

  https://cases.ra.kroll.com/puertorico/.

          6.      PREPA submits that, in light of the nature of the relief requested, no other or further

  notice need be given.

          WHEREFORE PREPA requests the Court enter the Proposed Order and grant such other

  relief as is just and proper.

   Dated: August 21, 2023                                     Respectfully submitted,
          San Juan, Puerto Rico
                                                              /s/ Hermann D. Bauer
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                                                              USDC No. 215205
                                                              Carla García-Benítez
                                                              USDC No. 203708
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                                                              Attorneys for the Financial
                                                              Oversight and Management Board
                                                              as representative for PREPA
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                                    Exhibit A

                                 Proposed Order
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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF PUERTO RICO




      In re:
                                                             PROMESA
      THE FINANCIAL OVERSIGHT AND                            Title III
      MANAGEMENT BOARD FOR PUERTO RICO,

               as representative of                          No. 17 BK 3283-LTS
      THE COMMONWEALTH OF PUERTO RICO, et                    Re: ECF No. __________
      al.,
                                                             (Jointly Administered)
                              Debtors.1


                             ORDER GRANTING URGENT UNOPPOSED
                             MOTION FOR EXTENSION OF DEADLINES

               Upon the Urgent Unopposed Motion for Extension of Deadlines [ECF No. _____] (the

  “Extension Motion”);2 and the Court having found it has subject matter jurisdiction over this



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       The Debtors in these Title III cases, along with each Debtor’s respective Title III case number
       listed as a bankruptcy case number due to software limitations and the last four (4) digits of
       each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of
       Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four
       Digits of Federal Tax ID: 3481), (ii) Employees Retirement System of the Government of the
       Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last Four
       Digits of Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority
       (“HTA”) (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID:
       3808), (iv) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No.
       17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474), (v) Puerto Rico Electric Power
       Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal
       Tax ID: 3747), and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No.
       19-BK-5523 (LTS)) (Last Four Digits of Federal Tax ID: 3801).
  2
       Capitalized terms used but not otherwise defined herein have the meanings given to them in the
       Extension Motion.
                                                    1
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  matter pursuant to PROMESA section 306; and it appearing that venue in this district is proper

  pursuant to PROMESA section 307; and the Court having found that the relief requested in the

  Extension Motion is in the best interests of PREPA and Movant; and the Court having found that

  PREPA provided adequate and appropriate notice of the Extension Motion under the

  circumstances and that no other or further notice is required; and the Court having reviewed the

  Extension Motion; and the Court having determined that the factual bases set forth in the Extension

  Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

  cause appearing therefor, it is HEREBY ORDERED THAT:

         1. The Extension Motion is granted as set forth herein.

         2. The deadline to respond to the Motion shall be extended to September 11, 2023.

         3. The deadline for Movant to file a reply shall be extended to September 18, 2023.

         4. The Court will thereafter take the Motion on submission, unless the Court determines

             that a hearing is necessary.



  Dated: ___________, 2023


                                                    ___________________________________
                                                    HONORABLE LAURA TAYLOR SWAIN
                                                   UNITED STATES DISTRICT COURT JUDGE
